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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

ARTHUR L. GONZALES, JR.,                      )
                                              )
              Plaintiff,                      )
v.                                            )       Case. No. 22-3019-SAC
                                              )
ROBERT WRAY, D.O., et al.,                    )
                                              )
              Defendants,                     )

                     NOTICE OF WITHDRAWAL OF APPEARANCE

       COMES NOW Samuel Bennett of Norris Keplinger Hicks & Welder, LLC, and hereby

withdraws as counsel for defendants Robert Wray, D.O., and Millie Tringale-Murray.

       John Hicks of the same firm remains as lead counsel for defendants Robert Wray, D.O.,

and Millie Tringale-Murray. Pursuant to Local Rule 83.5.5(c) and Fed. R. Civ. Pro. 5(b), service

of this Notice of Withdrawal of Appearance was made on Robert Wray, D.O., and Millie Tringale-

Murray, through their continuing attorneys.



                                              Respectfully Submitted,

                                              NORRIS KEPLINGER
                                              HICKS & WELDER, LLC

                                              By:    /s/ Samuel Bennett
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                                              MURRAY




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                                 CERTIFICATE OF SERVICE
        I hereby certify that on this 5th day of October, 2022, the above and foregoing document
was filed via the Court’s ECF system, which sent notification of such filing to all counsel of record.
A copy was served on the Plaintiff by depositing the same in the United States Mail, first class
postage prepaid, addressed as follows:

       Plaintiff pro se        Arthur L. Gonzales, Jr.
                               #110872
                               Lansing Correctional Facility
                               P.O. Box 2
                               Lansing, KS 66043

And copies sent via email as follows:

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       Attorneys for Defendant James Skidmore



                                                               ___/s/ Samuel Bennett
                                                               Attorney for Robert Wray, D.O., and
                                                               Millie Tringale-Murray




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